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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,        )              CASE NO. 8:05CR163
                                                )
              Plaintiff,                        )
                                                )
              vs.                               )
                                                )                     ORDER
JAZMIN CERNA, DANIEL CERNA,                     )
ADAM SALINAS TREVINO, DANIEL                    )
LEE WALKER, CLEO JO WALKER,                     )
                                                )
              Defendant.                        )

       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 232). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On October 26, 2006, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846 and 853, based

upon the Defendants’ pleas of guilty to Counts I and III of the Indictment and Counts I and

IV filed herein. By way of said Preliminary Order of Forfeiture, the Defendants’ interest in

$17,486.00 in United States currency was forfeited to the United States.

       2. On November 9, 16 and 23, 2006, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law, and further notifying all third parties of

their right to petition the Court within the stated period of time for a hearing to adjudicate

the validity of their alleged legal interest(s) in said property. An Affidavit of Publication was

filed herein on December 22, 2006 (Filing No. 231).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.
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      IT IS ORDERED:

      A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 232) is hereby

sustained.

      B.      All right, title and interest in and to the subject property, i.e., $17,486.00 in

United States currency, held by any person or entity, is hereby forever barred and

foreclosed.

      C. The subject property, i.e., $17,486.00 in United States currency, be, and the

same hereby is, forfeited to the United States of America.

      D. The United States Marshal for the District of Nebraska is directed to dispose of

said property in accordance with law.

      DATED this 8th day of January, 2007.

                                             BY THE COURT:

                                             S/ Laurie Smith Camp
                                             United States District Judge




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